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                    EXHIBIT 1
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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS



                                           )
                                           )
                                           )
                                           )
IN RE: EpiPen (Epinephrine Injection, USP) )
                                           )
Marketing Sales Practices and Antitrust    ) Case No. 17-md-2785-DDC-TJJ
Litigation                                 )
                                           )
                                           )
                                           )
                                           )




                             Expert Report of

                         Professor Einer Elhauge

                     In Support of Class Certification




                             December 7, 2018

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                               EXECUTIVE SUMMARY
       1.     I demonstrate, using a classwide methodology that the relevant product
market in this case is the market for Epinephrine auto-injectors (“EAIs”) and that
the relevant geographic market is the United States. This conclusion is applicable
to the entire class and is based on the Hypothetical Monopolist Test, as well as other
classwide evidence regarding medical differences between EAIs and other products,
pricing trends, and Defendants’ self-characterization of the market. I also
demonstrate that Mylan had monopoly power throughout the relevant time period
for this case, with a market share consistently in excess of 80%. If this case had
been brought as individual cases, each of those individual cases would involve using
precisely the same evidence and methods to arrive at the same conclusions about
market definition and market power.

        2.     I demonstrate how reverse payments in patent settlements can facilitate
a form of market division over time by extending the length of exclusion a patent
holder enjoys beyond that merited by the patent itself. Such reverse payment patent
settlements injure competition across the market (and thus across the class) when
they result in generic entry dates that are later than the entry date that would have
occurred without that payment in a no-payment settlement. I demonstrate how one
can, from the parties’ actual settlement, profit projections, and estimates about the
patent litigation and reverse payment value, calculate their actual bargaining strength
and then use that information to determine the generic entry date in a no-payment
settlement that would have been economically rational given their actual bargaining
power. This methodology is common to the class, uses evidence common to the
class, and predicts the same no-payment settlement entry date across the entire class.
I illustrate this classwide methodology, showing that with a $100 million reverse
payment amount, the no-payment settlement entry date that would have been
economically rational given their actual bargaining power would have been March
13, 2014, 15.3 months earlier than the entry date in the actual settlement. I further
demonstrate how this classwide methodology can predict the entry delay caused by
the reverse payment for varying estimates of the reverse payment amounts and patent
strength. I also show that the reverse-payment settlement cannot be justified by
avoided litigation costs or risk aversion for several reasons, and that, even if they
could be, these purported justifications would necessarily apply across the class. If
this case had been brought as individual cases, each of those individual cases would
involve using precisely the same evidence and methods to arrive at the same
conclusions about the estimated entry delay and lack of procompetitive
justifications.
                                           1
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       3.    Finally, I show Mylan’s exclusionary contracts with PBMs and its
EpiPens4Schools program harmed the entire class by foreclosing a part of the market
to Auvi-Q, which reduced Auvi-Q sales and competition with Mylan and thus
reduced Mylan’s incentives to lower its prices across the market and thus across the
class. I show how Mylan leveraged its market power by offering rebates to PBMs
conditioned on placing Auvi-Q in restrictive formulary positions. I show, using
classwide evidence and a classwide methodology, that Mylan succeeded in reducing
Auvi-Q’s share amongst customers placed on those formularies. I then use a
classwide methodology to estimate the share and price impact of the foreclosure
caused by this foreclosure and conclude that it resulted in overcharges of
$52,421,355. I also estimate, using Mylan’s own analysis of how much the
EpiPens4Schools program reduced Auvi-Q’s market share, which applies classwide,
the foreclosure impact of the EpiPens4Schools program and conclude that it resulted
in overcharges of $73,739,919. Finally, I explain how Sanofi’s reduced profits on
Auvi-Q as a result of this foreclosure could have deterred its re-entry into the market
following its voluntary recall. Whether and when Sanofi would have re-entered the
market absent Mylan’s anticompetitive conduct are questions that apply to the class
as a whole. I estimate, using a classwide methodology based on classwide evidence
that if Sanofi would have re-entered the market in September 2016 absent the
foreclosure resulting from Mylan’s conduct, its deterred re-entry resulted in
overcharges of $31,491,907 through June 2018. If this case had been brought as
individual cases, each of those individual cases would involve using precisely the
same evidence and methods to arrive at the same conclusions about the foreclosing
effect and price impact of the PBM foreclosure, the EpiPens4Schools program, and
the deterrence of Sanofi’s re-entry into the market. I also demonstrate how damages
from each of these sources of exclusionary effects can be allocated across states
under state antitrust and consumer protection statutes.

                                  QUALIFICATIONS
       4.    I am the Petrie Professor of Law at Harvard University, where I teach
and write about the economic analysis of antitrust law, health policy, and various
other subjects. I am the author of various books, including U.S. Antitrust Law &
Economics; co-author of Global Antitrust Law & Economics, Global Competition
Law & Economics, and Areeda, Elhauge & Hovenkamp, Vol X, Antitrust Law; and
editor of The Research Handbook On The Economics Of Antitrust Law and The
Fragmentation Of U.S. Health Care. I am also the author of numerous articles on
various topics involving the economic analysis of antitrust and other legal issues,
including articles on monopolization, bundled discounts, loyalty discounts, and
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                    I. EAI MARKET DEFINITION AND POWER
       7.     The relevant product market in this case is the market for Epinephrine
auto-injectors (“EAIs”). EAIs are devices that can automatically inject epinephrine
into patients experiencing anaphylaxis. These include the EpiPen, Auvi-Q,
Twinject, and Adrenaclick. The relevant geographic market is the US market.
Mylan had monopoly power throughout the United States during the entire relevant
time period. These conclusions are all classwide since they are all either true or not
for the entire class. Even if the market definition were narrower or broader than I
describe here, the proper market definition is a fact that applies equally to all class
members. Likewise, even if Mylan had more or less market power than I conclude,
the degree of market power that Myaln had is a fact that applies equally to all class
members. Further, as detailed below, the methodologies used to support these
conclusions on market definition and market power are all classwide and are all
based on common classwide evidence.

                                A. Market Definition

                       1. The Relevant Product Market Is EAIs
       8.     Economists often use the “hypothetical monopolist test” to determine
whether a posited market is sufficiently broad. The hypothetical monopolist test
asks whether a hypothetical 100% monopolist in a posited market could profitably
raise prices at least 5% above the competitive level. In other words, it asks whether
such a price increase would cause enough buyers in that market to switch to
substitutes outside that market to make the price increase unprofitable. 1 If a
hypothetical monopolist could profitably raise prices 5% above the competitive
level, then the market definition is proper because impairing competition between
competitors in that posited market alone could cause significant harm to consumers.
In contrast, if even turning the market into a 100% monopoly could not cause prices
to increase by 5% above the competitive level, then the posited market definition
would be too narrow because impairing competition in the posited market would not
suffice to significantly harm consumers. The joint DOJ/FTC guidelines on market
definition also explain that when both a narrower and a broader market would satisfy
the hypothetical monopolist test, market shares in the narrower market will more
accurately estimate the extent of market power. 2

      1
        DOJ/FTC Horizontal Merger Guidelines §4 (2010).
      2
         Id. at §4.1.1 (agencies usually use “the smallest relevant market satisfying the
hypothetical monopolist test.”).
                                           4
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       9.     For example, suppose the defendant sold “hand-churned” chocolate ice
cream. Suppose the closest substitute to the defendant’s product is another type of
hand-churned chocolate ice cream, the next closest substitute is machine-churned
chocolate ice cream, and the next closest is vanilla ice cream. Antitrust economics
would start with the smallest possible market: just “hand-churned” chocolate ice
cream, and ask whether it passed the Hypothetical Monopolist Test. A posited
market for just “hand-churned” chocolate ice cream would probably fail the
hypothetical monopolist test because so few people care about whether their ice
cream is “hand-churned” that, if even a 100% monopolist in hand-churned chocolate
ice cream tried to raise prices by 5% or more over the competitive level, so many
customers would switch to machine-churned chocolate ice cream that the price
increase would not be profitable. That tells the economist directly that impairing
competition in just the hand-churned chocolate ice cream market could not
significantly harm consumers, and thus that using a hand-churned ice cream market
would not be useful for competition analysis. The economist’s next step would then
be to add the next closest substitute to the market (machine-churned chocolate ice
cream), and test whether this slightly broader market satisfied the hypothetical
monopolist test. A posited market for “all chocolate ice cream” (both hand-churned
and machine-churned) would probably pass the hypothetical monopolist test because
many people have strong preferences for chocolate or vanilla ice cream, and
consequently if a hypothetical 100% monopolist in chocolate ice cream raised prices
by 5% above competitive levels, not enough customers would switch to vanilla ice
cream to make the price increase unprofitable. This would directly indicate that
impairing competition solely between chocolate ice cream suppliers could cause
significant harm to consumers, and thus that a chocolate ice cream market is useful
for competition analysis.

       10. Markets defined using the hypothetical monopolist test usually
“exclude some substitutes to which some customers might turn” in response to a
price increase for the products in the relevant market. 3 Economists generally define

       3
          DOJ/FTC Horizontal Merger Guidelines §4 (2010) (“Market shares of different products
in narrowly defined markets are more likely to capture the relative competitive significance of
these products, and often more accurately reflect competition between close substitutes. As a
result, properly defined antitrust markets often exclude some substitutes to which some customers
might turn in the face of the price increase even if such substitutes provide alternatives for those
customers.”); id. §4.1.1 (“Groups of products may satisfy the hypothetical monopolist test without
including the full range of substitutes from which customers choose.”). Relatedly, official
commentary to the Merger Guidelines explains that “Even when no readily apparent gap exists in

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markets narrowly to focus only on close substitutes because “defining a market
broadly to include relatively distant product or geographic substitutes can lead to
misleading market shares” that overstate the importance of distant substitutes.4 This
means that the mere fact that some customers substitute between Products A and B
does not necessarily mean that Products A and B are in the same market. Indeed,
“[t]he hypothetical monopolist test may identify a group of products as a relevant
market even if customers would substitute significantly to products outside that
group.”5

       11. Rather, the percentage of customers who would switch to other
products in response to a price increase of 5% or more must be sufficiently high that
that price increase would not be profitable. For example, suppose a hypothetical
monopolist in a posited market with a competitive price of $100, cost of $95/unit,
and sales of 1000 units would lose 40% of customers to other markets if it raised
prices by 5%. That price increase would still be profitable because profits with the
price increase = ($105-$95)(.6)(1000) = $6,000, whereas profits at the competitive
price were ($100-$95)(1000) = $5,000. Thus, it would be a relevant market even
though a substantial percentage (40%) of customers would switch in response to a
5% price increase because that percentage is not sufficiently high to deter the price
increase from occurring.

       12. The Hypothetical Monopolist test shows here that a market limited to
only EAIs is sufficiently broad, and thus is a properly defined relevant market. As I
explained above, a posited market is sufficiently broad under the Hypothetical
Monopolist test if it would be profitable for a 100% monopolist in that market to
raise prices by 5% or more above the competitive level. In this case we have a clear
example where prices of other EAIs in the market increased by more than 5% upon
the exit of a significant market participant, indicating that it was profitable for

the chain of substitutes, drawing a market boundary within the chain may be entirely appropriate
when a hypothetical monopolist over just a segment of the chain of substitutes would raise prices
significantly.” DOJ/FTC, Commentary on the Horizontal Merger Guidelines 15 (2006). The
Merger Guidelines likewise explain that “relevant markets need not have precise metes and
bounds.” DOJ/FTC Horizontal Merger Guidelines §4 (2010).
        4
          DOJ/FTC Horizontal Merger Guidelines §4 (2010) (“Defining a market broadly to
include relatively distant product or geographic substitutes can lead to misleading market shares.
This is because the competitive significance of distant substitutes is unlikely to be commensurate
with their shares in a broad market. Although excluding more distant substitutes from the market
inevitably understates their competitive significance to some degree, doing so often provides a
more accurate indicator of the competitive effects of the merger than would the alternative of
including them and overstating their competitive significance”).
        5
          DOJ/FTC Horizontal Merger Guidelines §4.1.1 (2010).
                                                6
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more than 5% more than it typically increased prices while it faced this competition.
This demonstrates that it was profitable for a monopolist to increase prices by more
than 5% when some competition was eliminated, and that therefore a hypothetical
complete monopolist would have also found it profitable to increase prices by more
than 5% above fully competitive levels. As a result, a market limited to EAIs is
sufficiently broad to pass the Hypothetical Monopolist test and is therefore a
properly defined relevant market.

       14. In particular, this test indicates that it is not necessary to include more
distant substitutes, such as antihistamines or allergy medicine like Benadryl in order
to reach a properly defined antitrust market. If Benadryl constrained Mylan’s prices
sufficiently that it was necessary to include it in a properly defined antitrust market,
then it would have made it not profitable for Mylan to increase its prices by more
than 5% in response to the exit of a market participant in Auvi-Q.

       15. In addition to the Hypothetical Monopolist Test, there are other factors
in this case that further suggest that the EAI market is a relevant antitrust market.

      16. a. Medical Differences. I understand that Dr. Jay Portnoy will opine
that EAIs are medically equivalent to each other, while other proposed alternatives
such as Benadryl are not appropriate for treatment of acute anaphylaxis.6

      17. b. Price Trends for EAI Products were Similar Over the Relevant
Time Period. The economic literature indicates that price trends can be useful
evidence on market definition. “If Products A and B are in the same economic
market, then their prices should tend to move closely together.” 7 In contrast, “The
absence of close price relationships among products presumptively indicates that
they are in separate markets. . . . When the prices of two products (or of the same
product in two regions) change in the same direction and by similar amounts over a
substantial period of time, they are presumptively in the same market.” 8 Evidence
on price trends is presumptive and not conclusive because a common price trend
could instead reflect common costs and a diverging price trend could instead reflect
diverging costs where one of the products was already priced at cost and thus could
go no lower in price in response to a drop in the price of a substitute. 9 However,
absent evidence of such an alternative explanation for price trends, parallel price

      6
        Portnoy Report.
      7
        CARLTON & PERLOFF, MODERN INDUSTRIAL ORGANIZATION 614 (3rd ed. 2000).
      8
        IIA AREEDA, HOVENKAMP & SOLOW, ANTITRUST LAW ¶534, at 180, 182 (1995).
      9
        EINER ELHAUGE, U.S. ANTITRUST LAW & ECONOMICS 237-38 (3d ed. 2018)
                                           8
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product from cheaper countries explains the generally observed fact that drug prices
are often persistently higher in the United States than in other countries.19 Second,
as noted above, market participants themselves analyzed their competitiveness in
terms of US, rather than global market shares. 20 At any rate, the evidence
demonstrating that the United States is a relevant geographic antitrust market is
common to the proposed class as whole.

                       B. Market Power and Monopoly Power
       21. Mylan had both market power and monopoly power (a higher degree
of market power) throughout the United States during the entire relevant time period.
Three independently sufficient bases confirm Mylan’s market power and monopoly
power: (1) high market shares (greater than 50%) coupled with high barriers to entry
and expansion; (2) direct evidence that Mylan has the power to raise prices above
competitive levels; and (3) direct evidence that Mylan has the power to exclude
rivals. All three bases use a classwide methodology and are based on classwide
evidence to produce a conclusion about market power that is common to the class.

    1. High Market Shares Coupled With High Barriers to Entry and Expansion

        22. A high market share indicates that a firm has significant market power
when the market also exhibits high barriers to the entry of new rivals and the
expansion of existing rivals. Here, as seen in Figure 1, which is calculated using
IQVIA data, Mylan had dominant market shares in excess of 80% throughout the
relevant time period. Mylan’s high market shares (coupled with entry and expansion
barriers barriers) indicate market power and monopoly power because they make
Mylan more likely to have power over price. Mylan’s high market shares also
indicate that: (1) it controls enough of this market to restrain substantial shares; and
(2) it will profit from a successful exclusionary scheme more than firms with smaller
market shares would.21


       19
           See, e.g., Langreth, Migliozzi, Gokhale, “The U.S. Pays a Lot More for Top Drugs
than Other Countries,” Bloomberg, 12/18/14, available at
https://www.bloomberg.com/graphics/2015-drug-prices/;
        20
             E.g. MYEP011902060; MYEP00332421; MYEP00148638; MYEP01361846;
MYEP00093944
        21
           Einer R. Elhauge, Defining Better Monopolization Standards, 56 STAN. L. REV. 253, 335
(2003).

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                                 II. REVERSE PAYMENTS

                            A. Economics of Reverse Payments

       1. Reverse Payments Can Anticompetitively Harm Consumers by Dividing
                                 Markets over Time

       26. Reverse-payment settlements that delay competitive entry raise
complicated issues because they involve an agreement to divide a market over time
in exchange for a transfer payment. A transfer payment is a transfer of value from
one entity to another. 25 To make those complications more understandable, I will
introduce the underlying concepts one at a time. First, I explain how classic
territorial market divisions, whereby each firm agrees not to compete in the other’s
territory, create anticompetitive profits that are split between the firms along
territorial lines. Second, I explain how territorial market divisions can instead
involve an agreement by one firm not to compete in an area, in exchange for transfer
payments that allow the non-competing firm to share the anticompetitive profits the
other firm gets in that area. Third, I explain how firms can divide a market over time
by agreeing to delay entry in a way that creates anticompetitive profits that are split
using transfer payments. Fourth, I explain how reverse-payment settlements can
divide markets over time by delaying entry beyond what would otherwise be
expected in a way that creates anticompetitive profits that are split using the reverse
payment.

      27. To explain these concepts, consider the following simplified situation:
Firm A has been the only firm making a certain drug in the United States. Firm B
plans to enter the market and compete with Firm A throughout the United States.
Firm A would get $10 billion in profits if Firm B stays out of the market, whereas if
Firms A and B compete with each other, prices would decrease substantially and
each firm would only get $1 billion in profits. If Firms A and B could agree not to
compete and split the profits from maintaining a monopoly in the market, they would
each be better off because their joint profits are much higher without competition
($10 billion) than with competition ($2 billion). But their anticompetitive profits

       25
           While transfer payments are often in cash, they can also take many noncash forms.
Transfer payments can also, whether in cash or not, be exchanged for return consideration that
might itself come in cash or noncash forms. The amount of a transfer payment equals the net value
of what is transferred to the entrant: that is, the value of any goods, services, business agreements,
or cash payments given to the entrant minus the value of any goods, services, business agreements,
or cash payments (such as royalties) the entrant provides in return
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would come at the expense of consumers who have to pay $8 billion more for the
drug due to such an agreement. There are several ways Firms A and B might agree
to anticompetitively divide the market to create and split monopoly profits.

       28. 1. Classic territorial market division. A classic territorial market
division would be created if the firms agree that Firm A will stop selling in the
Western U.S. in exchange for entering Firm B agreeing not to compete in the Eastern
U.S. In this example, Firm A continues to make monopoly profits in the East, while
Firm B makes monopoly profits in the West. If the two regions are equally
profitable, then each firm would get $5 billion with this market division, which is
substantially more than the $1 billion they would each have earned if they competed
across the entire nation. The $8 billion in anticompetitive profits would thus be split
between them along territorial lines, with each extracting $4 billion in additional
anticompetitive profits in its territory. These additional profits come entirely from
the higher prices that the firms are able to charge customers because of their market
division agreement. Consumers are harmed even though the market division does
not increase prices above the monopoly levels that prevailed before Firm B could
have entered. The harm to consumers is that the market division prevents a
competitive price drop that would otherwise occur. This example of geographic
market division is illustrated below in Figure 3.

  Figure 3. Classic Territorial Market Division Where the Territorial Lines
                       Split the Anticompetitive Profits




                 Firm B
                 Monopoly                   Firm A
                 $5 Billion                 Monopoly
                                            $5 Billion



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compete with Firm A’s separate product. In this example, each firm makes
monopoly profits on the product assigned to it. Suppose monopoly profits in each
product market would be $5 billion, but that if each firm entered the other’s market,
competitive profits would be only $1 billion per firm in each product market. In this
case each firm would get $5 billion with this product market division, which is
substantially more than the $2 billion they would each have earned if they competed
in both product markets. The $6 billion in anticompetitive profits would thus be
split between them among product markets, with each extracting $3 billion in
additional anticompetitive profits. These additional profits come entirely from the
higher prices that the firms are able to charge customers because of their market
division agreement. Consumers are harmed even though the market division does
not increase prices above the monopoly levels that prevailed before each firm could
have entered the other’s market. The harm to consumers is that the market division
prevents a competitive price drop that would otherwise occur. The allegation that
Mylan and Teva agreed to delay entry in each other’s drug markets (EpiPens and
Nuvigil respectively) is a form of product market division.

       32. 4. Temporal market division with transfer payment. Temporal
market divisions instead involve an agreement by one firm not to compete with the
other firm during a certain time period. For example, consider the time period from
2005 to 2015, and suppose 2005 was the year in which Firm B planned to enter the
market. The firms agree that Firm B will not enter until 2010 if Firm A pays Firm
B $1 billion. Suppose further that Firm A would reap $1 billion in monopoly profits
for each year that Firm B stays out of the market, and that each firm would earn $100
million per year if they competed and charged competitive prices.

       33. In this case, Firm A would get $4.5 billion with the agreement because
it would get $5 billion in monopoly profits from 2005 to 2010 and earn $500 million
in competitive profits from 2010 to 2015, and would have to pay Firm B $1 billion.
Firm B would get $1.5 billion with the agreement because it would earn $500 million
in competitive profits from 2010 to 2015 and would receive a $1 billion payment
from Firm A. Without the agreement, Firms A and B would each have earned $1
billion from competing from 2005 to 2015. Thus, just like the prior territorial market
division, this temporal market division gives Firm A $3.5 billion in anticompetitive
profits and Firm B $500 million in anticompetitive profits. Consumers are harmed
by $4 billion, even though the market division does not increase prices above the
past monopoly levels, because the market division prevents a competitive price drop
that otherwise would have occurred from 2005 to 2010. This example of temporal
market division is illustrated below in Figure 5.

                                         16
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by the extended monopolist but larger than the profits the entrant could make by
competing in the restrained areas or time periods.

       37. Third, the anticompetitive harm created by market division agreements
does not turn on whether we call the agreement a contract, a conspiracy, or a
settlement. The anticompetitive harm flows from the fact that, whatever their
agreement is called, it involves an agreement by the firms not to compete in some
areas or time periods.

                  2. Why Entry Can Be Expected Despite an Issued Patent

       38. The fact that the Patent and Trademark Office (PTO) has issued a patent
does not mean the patent will ultimately be held valid and infringed when contested
in a court of law. Empirically, many issued patents are not upheld by the courts.26
This empirical reality could reflect the fact that the PTO issues patents based on the
filings of only the patent applicant, whereas courts use an adversarial process that
allows excluded rivals to contest issued patents and raise non-infringement defenses
that cannot be raised before the PTO. Or it could reflect the fact that, as economic
studies indicate, the PTO has incentives to grant too many invalid patents because
doing so saves the PTO scarce time on patent examinations and gains the PTO fees
on the issuance and maintenance of patents.27 Whatever the underlying cause, the
reality is that there is a significant probability that a PTO-issued patent will not be
held valid and infringed by a potential entrant.




       26
            See Federal Trade Commission, GENERIC DRUG ENTRY PRIOR TO PATENT EXPIRATION: AN
FTC              STUDY,            at          vi           (2002),            available           at:
https://www.ftc.gov/sites/default/files/documents/reports/generic-drug-entry-prior-patent-expiration-
ftc-study/genericdrugstudy_0.pdf (“Generic applicants have prevailed in 73 percent of the cases in
which a court has resolved the patent dispute.”).
         27
            Frakes & Wasserman, Does Agency Funding Affect Decisionmaking?: An Empirical
Assessment of the PTO’s Granting Patterns, 66 VAND. L. REV. 67 (2013); Frakes & Wasserman,
The Failed Promise of User Fees: Empirical Evidence from the U.S. Patent and Trademark Office,
11 J. EMPIRICAL LEGAL STUD. 4 (2014); Frakes & Wasserman,Does the U.S. Patent and
Trademark Office Grant Too Many Bad Patents?: Evidence from a Quasi-Experiment, 67 STAN.
L. REV. 613 (2015); Frakes & Wasserman, Is the Time Allocated to Review Patent Applications
Inducing Examiners to Grant Invalid Patents?: Evidence from Micro-Level Application Data,
REV. ECON. STAT. Vol. 99 No. 3 (2017).

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       39. Accordingly, modern economic literature now recognizes that, until
issues of validity and infringement are resolved in litigation, a PTO-issued patent is
a “probabilistic” property right. Thus:

       [T]he patent holder is not “entitled” to obtain the same level of profits, or the
       same rights to exclude rivals, as would the owner of the fictionalized ironclad
       patent. Therefore, the patent holder is not “entitled” to negotiate a monopoly
       outcome, just because the patent holder asserts that its patent is valid and
       infringed by a particular rival. Rather, the patent holder’s rights are calibrated
       according to the likelihood that the patent holder would win the patent
       litigation, and the extent of exclusion that such a victory would permit. 28

In other words, the PTO’s issuance of a patent does not grant its holder an absolute
right to exclude competitors, but merely a probabilistic one, which can be tested
through litigation. 29

        40. Because a PTO-issued patent is a probabilistic property right, generic
entry can be expected during the patent term with some probability for two reasons.
First, because there is some probability that the generic will win the patent litigation,
entry will occur with that probability after the patent litigation. Second, the
probability that the generic will lose can be low enough that the patent damages a
generic expects to pay from entering during litigation can be lower than the profits
from such entry. In such cases, the generic can be expected to enter during the patent
litigation, which is often called “at risk” entry because the generic enters despite
some risk it might have to pay patent infringement damages as a result. For both
reasons, the expected entry date thus turns on the odds that the patent will be held
valid and infringed.

                   3. The Expected Rival Exclusion Merited by the Patent

       41. Because of the probabilistic nature of issued patents, assessing the
effects of a reverse-payment settlement thus requires inquiry into what the expected
result would have been without such a settlement. To understand the meaning of an

       28
          Carl Shapiro, Antitrust Limits to Patent Settlements, 34 RAND J. ECON. 391, 395 (2003).
       29
          See Lemley & Shapiro, Probabilistic Patents, 19 J. ECON. PERSPECTIVES 75 (2005); Carl
Shapiro, Antitrust Limits to Patent Settlements, 34 RAND J. ECON. 391, 395 (2003) (“Nothing in
the patent grant guarantees that the patent will be declared valid, or that the defendant in the patent
suit will be found to have infringed. In other words, all real patents are less strong than the
idealized patent grant usually imagined in economic theory.”).
                                                 20
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expected value, take the following example. Suppose you have 10 lottery tickets.
Each lottery ticket has a 1 in 10 odds of winning $10. On average, you should expect
to win once, so the 10 lottery tickets have an expected value of $10. Thus, the
“expected” value of one lottery ticket is $1. To express this mathematically, the
expected value = (odds of winning) x (gains if win). Thus, here the expected value
= (1/10) x ($10) = $1. We can also express any odds as probability. For example,
1 in 10 odds is the same as a 10% probability of winning. Thus, the expected value
of a lottery ticket is 10% of $10 = $1.

      42. The concept of expected value can also be used to determine a patent’s
expected exclusion of rivals. Suppose that a patent has a 10% chance of being
upheld, in which case it will exclude competitors for the remaining patent term of
10 years. If the patent litigation were instantaneous, the expected rival exclusion
would be (1/10)x(10 years) = 1 year.

        43. Of course, real litigation is not instantaneous, which introduces another
complication: the expected rival exclusion also turns on the expected length of that
litigation and on whether the entrant is likely to enter during the patent litigation.
Suppose the patent litigation is expected to last two more years and that, if the patent
holder wins, it will exclude competitors for the next ten years after the end of the
litigation, reflecting a total remaining patent term of 12 years. If the entrant would
enter during litigation, then competition will occur during the first two years of
litigation with certainty and rival exclusion will occur during the next ten years with
10% odds. Thus, the expected rival exclusion is 1 year. If the entrant would not
enter during litigation, then competition will also fail to occur during the two years
of litigation. Thus, in this case, the expected rival exclusion would be 3 years.
Figure 7 below illustrates the expected exclusion with and without entry during the
patent litigation.




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patent holder can always litigate rather than settle, so it will never accept a settlement
unless the profits from doing so leave it better off than the expected result with
litigation. With a reverse-payment settlement, the patent holder gets the profits from
the settlement exclusion minus the reverse payment. With litigation, the patent
holder gets the profits from expected litigation exclusion plus expected damages (if
the entrant enters during litigation) minus the litigation costs it incurs. This is true
regardless of the patent strength, litigation length and costs, and the likelihood and
timing of entry during litigation, because those factors are all reflected in those
expected profits and damages. Thus, the patent holder will agree to a reverse-
payment settlement only if (profits from the reverse-payment settlement exclusion)
– (reverse payment) > (profits from expected litigation exclusion) + (expected
damages) – (litigation costs). Rearranging, this means it must be true that (profits
from the reverse-payment settlement exclusion) – (profits from expected litigation
exclusion) > (reverse payment) – (litigation costs) + (expected damages).

        47. If the patent holder is certain the entrant will not enter during litigation,
then expected damages are zero and this formula simplifies to (profits from the
reverse-payment settlement exclusion) – (profits from expected litigation exclusion)
> (reverse payment) – (litigation costs). If the reverse payment exceeds litigation
costs, then the right side of this inequality is positive, and therefore the profits from
the settlement exclusion must exceed the profits from expected litigation exclusion.
This can be true only if the settlement exclusion period is longer than the expected
litigation exclusion period. Further, the larger the difference between the reverse
payment and the avoided litigation costs, the more the settlement exclusion must
exceed expected litigation exclusion to compensate. This point is illustrated in
Figure 9.




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         6. Reverse-Payment Settlements Do Not Encourage Optimal Innovation
       54. It might wrongly be thought that, even if a reverse-payment settlement
reduces short run consumer welfare, this harm is offset because it encourages
innovation that increases long-term consumer welfare. But that is not the case
because there are limits to the length of patent exclusion that is socially optimal, and
a settlement that extends the patent exclusion beyond the optimal length of patent
exclusion actually produces suboptimal innovation. To begin with, the patent
system has to trade off the benefits of encouraging innovation against the harm of
reducing the use of those innovations, where both those benefits and harms result to
the extent that patents allow monopoly pricing.33 If designed optimally, the patent
system will maximize overall consumer welfare by giving patent holders the optimal
fraction of ex post total surplus created by their innovations.34 Accordingly, if the
settlement exclusion exceeds the optimal patent exclusion, it leads to excess
investment in innovation, which reduces welfare compared to optimal investment in
innovation. Furthermore, a settlement that provides excessive patent protection can
produce a net reduction in innovation by precluding subsequent innovations by
others. 35 Finally, reverse-payment settlements that create a longer exclusion than
merited by the patent increase patent holder profits more for less-deserving weak
patents than for more-deserving strong patents, because the latter have a longer


       33
           See John H. Barton, Patents and Antitrust: A Rethinking in Light of Patent Breadth and
Sequential Innovation, 65 ANTITRUST L. J. 449, 450 (1997). (“The patent-antitrust analysis has
always had to take into account and balance benefit to consumers by maintaining the competitive
structure of existing markets against benefits to consumers by permitting the intellectual property
rights system to provide an incentive for research toward new and improved products.”).
        34
            See SUZANNE SCOTCHMER, INNOVATION AND INCENTIVES 100–03 (2004); Partha
Dasgupta & Joseph Stiglitz, Uncertainty, Industrial Structure, and the Speed of R&D, 11 BELL J.
ECON. 1, 18 (1980); Pankaj Tandon, Rivalry and the Excessive Allocation of Resources to
Research, 14 BELL J. ECON. 152, 152, 156–57 (1983). Such a system will also maximize overall
total welfare because competing innovators will keep spending on ex ante investments until their
investment costs equal their expected ex post profits, so that the profits to patent holders wash out
ex ante.
        35
           See K. Levine, A Model of Discovery, 99 AM. ECON. REV. 337 (2009). For empirical
work showing that expanding patent protections have had net negative effects on patent filings and
suppressed later innovations, see generally Josh Lerner, The Empirical Impact of Intellectual
Property Rights on Innovation: Puzzles and Clues, 99 AM. ECON. REV. 343 (2009); Fiona
Murray et al., Of Mice and Academics: Examining the Effect of Openness on Innovation (Nat’l
Bureau of Econ. Research, Working Paper No. 14819, 2009); Heidi L. Williams, Intellectual
Property Rights and Innovation: Evidence from the Human Genome (Nat’l Bureau of Econ.
Research, Working Paper No. 16213, 2010).

                                                28
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expected exclusion period without any reverse-payment settlement.36 Because weak
patents are more likely to reflect pseudo-innovation and strong patents are more
likely to reflect true innovation, such reverse-payment settlements would thus distort
investment choices away from true innovation towards pseudo-innovations, by
reducing the net reward for investing in true innovation rather than pseudo-
innovation.

       55. Patent law presumably has been designed to produce the socially
optimal patent exclusion period. If that is so, then a settlement with a reverse
payment that exceeds avoided litigation costs will produce a settlement exclusion
that also exceeds the optimal patent exclusion. 37



B. The Classwide Methodology for Calculating the Entry Delay Caused by the
                       Reverse-Payment Settlement
        56. In this Part, I describe a methodology to calculate what entry date would
have been economically rational for the parties to have agreed to in a no-payment
settlement had they been prevented from reaching a reverse-payment settlement.
This rational but-for settlement entry date would have permitted earlier licensed
entry by competitors to the EpiPen than was allowed under the actual settlements.
This earlier generic entry would be a common factor applicable to all class members.
Further, all of the evidence that would be used under this methodology to predict the
rational no-payment settlement entry date is common to all class members. This is
the same methodology that I have used in other cases to estimate the economically
rational but-for entry dates with no-payment settlements. 38 In Section III below, I
illustrate how this approach would be applied to the alleged Teva-Mylan reverse
payment settlement. The other reverse payment settlements alleged by plaintiffs
could be analyzed in similar fashion, with the analysis being equally applicable on a
classwide basis.



       36
          See Elhauge & Krueger, supra note 32, at 294–95.
       37
          This was proven in Einer Elhauge & Alex Krueger, Solving the Patent Settlement Puzzle,
91 TEX. L. REV. 283, 290–92, 297–312 (2012).
       38
           See United Food & Commercial Workers Local 1776 v. Teikoku Pharma USA
(Lidoderm), 296 F. Supp. 3d 1142, 1162-64, 1186-88 (N.D. Cal. Nov. 3, 2017); In re Namenda
Direct Purchaser Antitrust Litigation, 2018 WL 3970674, at *6-8 (S.D.N.Y. 2018); In re Androgel
Antitrust Litigation (No. II), 2018 WL 2984873, at *15-17 (N.D. Ga. 2018).

                                              29
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        57. Parties rationally agree to a settlement if they think it makes them better
off, so for each party its settlement payoff must exceed its litigation payoff. Their
settlement payoffs are determined by the settlement entry dates, their expected
profits with and without entry, and the size of any reverse payment. Their expected
litigation payoffs are determined by many factors, including their perceptions of
patent strength (i.e., the likelihood the patent holder would have won the patent
litigation in a way that prevented entry), of the likelihood and timing of entry during
litigation, of expected future litigation length and costs, and of their expected profits
with and without entry. Each party’s individual gain from settlement is the
difference between its settlement payoff and expected litigation payoff. The sum of
their individual gains from settlement are the joint gains of settlement.

       58. For decades economists have recognized that how negotiating parties
split potential joint gains may be affected by many factors, including differences in
personality, culture, concern for bargaining reputation, perceptions of fairness,
negotiating skill, negotiator interests, incentives and emotions (including managerial
risk tolerance), information available to the parties, ability to bluff or mask
reservation values, and credibility in threatening to walk away from a deal.39
Economists recognize that the aggregate effect of those factors is reflected by how
the parties split the joint gains created from a deal.40 Each party’s ability to obtain

       39
           See generally Fisher, Roger, William Ury, and Bruce Patton. Getting to Yes: Negotiating
Agreement without Giving in (New York, NY: Penguin, 2d ed. 1991), accessed at
http://www.fd.unl.pt/docentes_docs/ma/AGON_MA_25849.pdf;                     Wheeler,         Michael
A. "Negotiation Analysis: An Introduction." Harvard Business School Background Note 801-156,
August 2000 (Revised December 2014); Daye. Thomas A., ABA Section of Litigation Corporate
Counsel CLE Seminar, Winning The Settlement – Keys to Negotiation Strategy (February 11-14,
2010); Albert Choi & George Triantis, The Effect of Bargaining Power on Contract Design, 98
VA. L. REV. 1665, 1675-1676 (2012).
        40
           E.g. Abhinay Muthoo, A Non-Technical Introduction to Bargaining Theory, 1 World
Econ. 145, 151 (2000) (describing a party’s bargaining power “as captured, in general, by [their]
share of the surplus”); Alan Schwartz & Robert E. Scott, Contract Theory and the Limits of
Contract Law, Harvard Law School John M. Olin Center for Studies in Law, Economics, and
Public Policy Working Papers, Paper 275, 15 (2003) (same); J. Gregory Sidak, Bargaining Power
and Patent Damages, 19 Stan. Tech. L. Rev. 1, 12 (2015) (“It is a fundamental principle of
bargaining theory that, in a negotiation, the buyer and seller divide the surplus between themselves
based upon the relative bargaining power of each party.”); Kip Viscusi, Product Liability
Litigation With Risk Aversion, 17 J. Legal Stud. 101, 102, 107-08 (1988) (explaining that where
two parties will ultimately settle in a given negotiating range will depend on the parties’ bargaining
power and setting out a formula to determine the parties’ respective bargaining power based on
actual settlement results); Bruce Hay & Kathryn Spier, Litigation and Settlement, Harvard Law
School John M. Olin Center for Law, Economics and Business Discussion Paper Series, Paper

                                                 30
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its portion of the joint gains is referred to as its “bargaining power,” which is defined
and measured simply as the percentage of the joint gains from the deal that a party
is able to achieve.41 For example, if a party is able to obtain 60% of the joint gains
from a deal, then the party had 60% of the bargaining power in the context of that
particular negotiation. In a settlement, bargaining power reflects how the parties
split the joint gains from the settlement.

       59. Although all the above factors affect bargaining power, it would be
difficult to use these factors to predict from scratch the amount of bargaining power.
However, in this case, we do not need to predict bargaining power from scratch
because we can use the actual settlements to calculate the parties’ actual bargaining
power levels, which tells us what the aggregate effect of all these (and any other)
factors actually was on their bargaining power. In other words, in this case, we know
the actual settlements, and from that actual negotiation outcome we can calculate the
settlement gains of each party, which tells us their share of joint gains, i.e., their
bargaining power. Using the actual bargaining power thus not only affirmatively
accounts for all the factors that might affect bargaining power, but is the most
reliable method for accounting for all those factors. 42

       60. The parties’ actual bargaining power when negotiating the actual
settlement with a reverse payment would also be their bargaining power in a but-for
settlement without a reverse payment. This follows by definition from the fact that
the but-for world is one in which everything other than the challenged conduct
(here, the reverse payment) is the same as it was in the actual world. 43 Thus, the

218, 14 (1997) (a factor affecting settlement terms is “the parties’ relative bargaining power in
dividing the surplus from settlement”)
        41
           See sources cited in preceding footnote.
        42
            To draw an analogy, consumer demand for products is affected by a myriad of
psychological factors that might affect the utility they derive from purchasing those products. Each
consumer’s demand for chocolate ice cream may be affected by biological taste buds, their
childhood, the packaging, the brand name, and so on. However, there is no reliable method for
using those psychological factors to predict from scratch the utility functions of each consumer for
chocolate ice cream. Instead, economics uses consumers’ actual purchase decisions in order to
determine their revealed preferences, which tells us what the aggregate effect of those (and any
other) factors are on consumer demand.
        43
           E.g., ABA Section of Antitrust Law, Proving Antitrust Damages: Legal and Economic
Issues 54-55 (2d ed. 2010) (“To isolate the effect of the violation . . . it is important to modify the
defendants’ conduct in the but-for world only to the extent necessary to comply with the law.”)
Likewise, standard antitrust economics uses actual purchase decisions to derive revealed
preferences and consumer demand curves, which are then used in analysis of the but-for world
without the alleged anticompetitive conduct.
                                                 31
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parties’ bargaining power in the but-for world is the same as in the actual world.
This makes economic sense because all the things that affect bargaining power
would be the same in the but-for world. The but-for settlement would involve a
negotiation about precisely the same patents, at precisely the same time, and between
precisely the same parties, with precisely the same bargaining abilities and
weaknesses (such as tactical tendencies, bluffing ability, reputational effects,
psychological factors, or emotions, credibility to threaten to walk away from the
deal, and other intangibles that might affect bargaining power), precisely the same
estimates of the patent strength, litigation length and costs, and the timing of generic
entry, and with precisely the same estimates about what the other party thought about
any of these issues.

        61. To calculate each side’s bargaining power (i.e., how much of the joint
gains from the actual settlement each party was able to capture for itself), I will
calculate each parties’ settlement payoff from the actual settlement and its expected
litigation payoff. From those, it is easy to calculate its individual settlement gain
(the difference between those two payoffs), the joint settlement gain (the sum of
those individual settlement gains), and its bargaining power (its individual
settlement gain divided by those joint gains). I then use that actual bargaining power
to calculate what the economically rational but-for settlement entry date would have
been with no payment.

       62. Nothing in the calculation of actual bargaining power depends on any
assumption about the extent to which each party accurately perceived the estimates
and litigation payoffs of the other party. The individual gains from settlement are
all calculated relative to each party’s own perceptions of its settlement and litigation
payoffs, and the joint gains are simply the sum of those individual gains. Thus, none
of the components to calculating actual bargaining power depends at all on what
each party believed the other party believed. To be sure, each party’s beliefs about
the other side’s beliefs, and any incomplete information either side may have on each
other’s beliefs, might well bear on their bargaining power to obtain a share of joint
gains. For example, a party that can make the other party think its litigation payoff
is higher than it actually is may well be able to bargain for a higher share of joint
gains. But any effect such beliefs might have on actual bargaining power will
already be reflected in the actual settlement they reached. And from that actual
settlement, one can calculate the actual bargaining power without making any
assumption about the extent to which each party accurately perceived each other’s
estimates and what effect that might have on their bargain.



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        63. To determine the bargaining power revealed by the actual settlement, I
would calculate both Mylan and Teva’s expected payoffs from the actual settlement
(including the reverse payment) and their expected payoffs from continuing
litigation. The gains for each party from the combined settlements would then be
equal to each party’s actual settlement payoff minus its expected litigation payoff.
The joint gains from settlement would equal the sum of each party’s individual gains
from settlement. The share of the joint gains obtained by Teva, the potential entrant
in the EpiPens market would then be a measure of its bargaining power in the actual
settlement.

       64. To determine the economically rational but-for entry date in a
standalone no-payment EpiPens patent settlement in which the parties would have
had the same bargaining power as they had in the actual world, I would calculate the
profits each would expect to earn for all possible entry dates between the first date
Teva was expected to be able to enter the market and the end of the patent term. I
would then calculate the amount each side would gain from a no-payment settlement
with each entry date, given their litigation payoffs. From that, I would calculate their
share of settlement gains for each possible no-payment settlement entry date. The
no-payment settlement entry date that would be most consistent with the parties’
actual bargaining power revealed by the actual settlement would be the entry date
that equates the share of gains obtained by each party in the but-for settlement to that
they obtained in the actual settlement.

       65. In Section III, I demonstrate that it was not economically rational for
Teva to have accepted the actual EpiPens patent settlement unless it received a
reverse payment. My analysis further shows that the Nuvigil patent settlement must
have conferred a reverse payment of at least                minus the litigation costs
that Teva avoided by the Nuvigil patent settlement. The exact reverse payment
amount remains to be determined at the merits stage, but any assessment of that
amount would be based on evidence that would apply to entire class and produce a
conclusion that would be the same for the entire class. In Section III, I illustrate how
my method would apply for an illustrative reverse payment amount of $100 million.
Given that assumption, I show that Mylan obtained           % of the joint gains from
the actual reverse payment settlement, and I find that the economically rational but-
for entry date in a no-payment settlement of the EpiPens litigation would have been
March 13, 2014, 15.3 months earlier than the actual entry date.

      66. As I show in Section III, all the inputs to this method are based on
classwide evidence and the method produces a but-for generic entry date that is
common to the class. If any individual class member were to bring a claim, precisely

                                          33
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EpiPens settlement entry date of March 13, 2014, which is 15.3 months earlier than
the entry date agreed to under the actual reverse-payment settlement.

       83. To be sure, the above analysis had to use some assumptions about the
amount of the reverse payment, which has yet to be proven. But whatever the
amount of the reverse payment is, it will constitute classwide evidence that can then
be inputted at the merits stage into the above classwide methodology to calculate a
but-for entry date for an EpiPens generic that would be common to the class.
Likewise, while Mylan may dispute my estimate of other inputs used in the above
methodology, their resolution will create estimates that will constitute classwide
evidence and can be used in the above classwide methodology to calculate at but-for
entry date for an EpiPens generic that would be common to the class.

       84. Further, this methodology is not dependent on the particular estimates.
Rather, with this method, I can easily calculate the sensitivity of the but-for entry
date to different estimates of all these inputs.

       85. For example, this methodology can estimate the but-for entry date
across a wide range of estimated reverse payment amounts. In Figure 12 below, I
show the effect of varying the reverse payment size on predicted but-for no payment
settlement entry date.




                                         41
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  Figure 12. Effect of Varying Reverse Payment Size on But-For Settlement
                                Entry Date79

             4/11/2014

              4/1/2014

             3/22/2014

             3/12/2014

              3/2/2014

             2/20/2014

             2/10/2014

             1/31/2014
                         48   98   148      198        248   298     348   398
                                         Reverse Payment Amount $M



       86. Likewise, this methodology can also estimate delay across a range of
patent strengths (i.e., across a range of estimates of the likelihood that Mylan would
have won the EpiPens patent litigation). In Figure 13 below, I show the effect of
varying the patent strength up to as high as it could possibly have been while still




      79
           Rev Pmt Model.xlsm (Tab “Rev Pmt”).
                                                  42
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being consistent with Mylan having rationally accepted the actual settlement and
paid the illustrative $100 million reverse payment amount.

 Figure 13. Effect of Varying Reverse Patent Strength on But-For Settlement
                                Entry Date80
       4/11/2014

           4/1/2014

       3/22/2014

       3/12/2014

           3/2/2014

       2/20/2014

       2/10/2014

       1/31/2014
                      1%   5%       9%      13%      17%   21%   25%



       87. The same methodology could be used (as I have done in other cases) to
consider the possibility that the parties had different perceptions from each other
about the patent strength, to consider other estimates of the avoided costs or length
of the EpiPens patent litigation, to consider other estimates of the timing of generic
entry or the likelihood of entry during the EpiPens patent litigation, or to consider
any combination of alternative estimates of these inputs that would be consistent
with the parties having agreed to the actual EpiPens patent settlement. Whatever
estimate of any of these inputs that might be used would be common to the class, be
based on evidence that is common to the class, and result in a but-for entry date
estimate that was common to the class.

 D. Commonly Alleged Justifications for Reverse Payments Are Common to
                                 The Class
      88. Defendants in reverse payment cases often allege that their use of
reverse payments was justified in their case. In this Section, I discuss two commonly
alleged potential justifications and discuss how their application to this case would
depend on common class-wide evidence.

      80
           Rev Pmt Model.xlsm (Tab “Patent Strengths”)
                                             43
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                               1. Avoided Litigation Costs
      89. Defendants in reverse payment cases often allege that the avoidance of
patent litigation costs is a procompetitive efficiency that justifies the use of the
reverse payment. For at least three reasons, all of which are equally applicable
across the class, avoidance of litigation costs typically cannot justify the use of
reverse payments.

        90. First, defendants cannot claim avoided litigation costs as a justification
for the reverse payment if the reverse payment was not in fact necessary for avoiding
litigation costs. In this case, I have identified a date which made a no-payment
settlement more profitable to both parties than continued litigation, indicating that
no reverse payment was necessary in order for the parties to be able to rationally
reach a no-payment settlement. 81 Further, whether such a no-payment settlement
was possible is a fact that applies commonly across the class. Such a no-payment
settlement is a less-restrictive alternative to a reverse-payment settlement that can
equally avoid litigation costs, resulting in a shorter settlement exclusion period and
thus less harm to competition.

        91. Second, even if the reverse payment were necessary to avoid the patent
litigation costs in this case, these avoided litigation costs would need to be passed
on to consumers in order to constitute a cognizable procompetitive justification for
using a reverse payment. Because avoiding litigation costs lowers a fixed cost rather
than a marginal cost, it is unlikely to lower prices in a way that gets passed on to
consumers at all. Further, where the reverse payment amount exceeds the
patentholder’s avoided litigation costs, which would be the case here for any reverse
payment that exceeds $2.8 million, the reverse-payment settlement actually raises,
rather than lowers the patentholder’s fixed costs. Therefore, even if these costs were
passed through to customers, the combined effect of the cost of the reverse payment
and the avoided litigation costs would be in fact to raise, rather than lower, the prices
that consumers paid. Again, these facts might be disputed by Mylan, but any
resolution of them would be based on classwide evidence and result in conclusions
common to the class.

      92. Third, even if the avoided litigation costs were passed through to
consumers in a way that (considered in isolation) lowered prices paid by them, such
a pass through would have to be large enough to offset the total overcharge that

      81
           See supra ¶82.

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insuring, rather than by using outside insurance companies.86 Because such large
publicly-held corporations have shareholders who can easily diversify, this pattern
is consistent with my point that managers generally act in the interests of
shareholders by maximizing expected gains without aversion to firm-specific risks
that shareholders can diversify. Because the defendants here are both large publicly-
held corporations, this evidence supports an assumption of risk neutrality.

       95. Second, even if the parties were risk averse, a reverse payment would
not be necessary to achieve any risk reduction associated with settlement, because a
no-payment settlement would also allow the parties to avoid any litigation risk.87
Whether the parties could have reached such a no-payment settlement is a classwide
issue. Risk aversion can only increase the likelihood of a no-payment settlement by
lowering the litigation payoffs to both sides. Such a no-payment settlement is thus
a less-restrictive alternative to a reverse-payment settlement that can equally achieve
risk reduction, resulting in a shorter settlement exclusion period and thus less harm
to competition. The claimed justification of averting risk is thus not actually
attributable to the reverse payment.

       96. Third, even if the settling parties were risk averse and would not have
agreed to a settlement without the reverse payment, risk aversion could cause
Mylan’s managers to accept a reverse-payment settlement that provided for less
exclusion of competition than expected from continued litigation only if the
settlement reduced expected profits. Mylan’s managers would have to be sufficiently
risk averse that, contrary to the interests of their shareholders, the managers would
have their firm both make a reverse payment that exceeded avoided litigation costs
and agree to a settlement that provides less than expected patent protection, even
though that would clearly lower Mylan’s expected profits. Whether or not the actual
settlements lowered Mylan’s expected profits in this way is a classwide issue
determinable by evidence common to the class.

       97. Fourth, even if the settling parties were risk averse and would not have
agreed to a settlement without the reverse payment and the reverse-payment
settlement excluded entry for less than the expected litigation exclusion, reverse
payments that foster such risk-averse decisions lower shareholder returns and thus

       86
          Report to Congress on a Study of the Large Group Market, U.S. Department of Health
and Human Services, p3, available at https://aspe.hhs.gov/system/files/pdf/76181/index.pdf.
       87
          See Aaron Edlin et al., Actavis and Error Costs: A Reply to Critics, ANTITRUST SOURCE,
Oct. 2014, at 1, 4–7; Aaron Edlin et al., Activating Actavis, ANTITRUST, Fall 2013, at 18-20.

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inefficiently reduce incentives to invest in innovation.88 That would make the
reverse-payment settlement affirmatively inefficient rather than show a
procompetitive efficiency.

        98. Finally, even if the parties were risk averse in their settlement,
incorporating risk aversion into the model would not change the fact that the reverse
payment caused substantial entry delay. If one wished to credit risk aversion, the
impact of any risk aversion on the part of the parties can be incorporated into the
model through an adjustment to their perceptions of the patent strength. To see this,
consider a risk-averse patent holder, who gets an amount X if it wins the patent
litigation (with perceived probability ϴP) and a lower amount Y if it loses the patent
litigation (with perceived probability 1 - ϴP). The additional amount that the patent
holder actually receives if it wins is X-Y. If the patent holder were risk averse with
respect to the litigation, then it would value this additional payoff from winning at
something less than 100% of its full dollar value. Let's call its risk-adjusted
valuation of this additional payoff α(X - Y) with 0 < α < 1. Its risk-adjusted expected
value of this additional amount is then ϴPα(X - Y). When stated this way, it is clear
that the risk-adjustment factor, α, can be applied to either the probability or the value
that it derives from the additional payoffs, and achieve the same risk-adjusted
expected value. So it is equivalent to say that it values X - Y fully, but to then apply
the risk adjustment to its perceived probability of winning. Its risk-adjusted
perceived probability of patent victory is thus αϴP, which is less than the true
perceived probability of patent victory. In order to account for risk aversion then, it
is only necessary to substitute this lower risk-adjusted patent holder perception of
the patent strength for the true patent holder perception of the patent strength in the
formulas. The result is the reverse for an entrant: its risk-adjusted perception of the
patent strength is higher than its true perception of that strength. So the effect of
incorporating risk aversion into the model is to increase the entrant’s patent strength
perception (ϴE) and decrease the patent holder’s patent strength perception (ϴP),
which creates a wider range of possible no-payment settlements. Whatever impact
any risk aversion had on the actual settlement, and whatever effect it would have on
an alternative no-payment settlement would reflect classwide evidence via a
classwide methodology and produce a classwide result.




      88
           See Elhauge & Krueger, supra note 32, at 312.
                                               47
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market price inflation, but the method of calculating it is common to the class, based
on classwide evidence, and produces conclusions about the foreclosing effect and
market price inflation that are common to the class.

       105. Mylan’s contemporaneous business documents on its exclusionary
contracts with PBMs focus on their restraining effect on Sanofi sales and do not
indicate that those exclusionary contracts had any procompetitive justifications. If
those exclusionary contracts created some efficiencies that lowered costs in a way
that was necessary to offer the rebates, one would expect to see Mylan’s
contemporaneous business documents discuss and quantify those efficiencies in
order to decide what level of rebate to offer for the exclusionary conditions. But I
am unable to find such a discussion and quantification in Mylan’s contemporaneous
business documents.

       106. Nor do the rebates themselves constitute a procompetitive justification,
for two reasons. First, absent evidence that the exclusionary conditions produced a
cost reduction necessary to offer those rebates, the less restrictive alternative would
be to offer those rebates without the exclusionary condition. As empirically
demonstrated in the next section, that would have been less restraining on rival
competition, because the empirical analysis shows that the effect on rival sales from
the exclusionary conditions was over and above the effect on rival sales from the net
prices after rebates. Second, as shown below, even with the rebates, the average net
prices to customers were higher than they would have been without the exclusionary
conditions. Thus, any procompetitive benefit from the rebates did not suffice to
offset the anticompetitive effect and was not sufficiently passed on to buyers that it
improved consumer welfare.

      107. Again, Mylan may dispute these conclusions about the nonexistence of
any procompetitive justification, the lack of any less restrictive alternative, and the
lack of evidence that any procompetitive benefits offset the anticompetitive effects.
But the methods for reaching these conclusions are all common to the class, all based
on classwide evidence, and all result in conclusions that are common to the class.

       108. In addition to Mylan’s exclusionary contracts with PBMs, Mylan
engaged in exclusive contracts with schools under its EpiPen4Schools program,
offering free or discounted product to schools in exchange for those schools agreeing
to exclusively stock EpiPens. In addition to foreclosing this part of the market from
competition, monopolizing the school segment of the market had spillover effects
that translated to increased market share in other areas. Mylan’s own documents
indicate that
                                          51
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average net price for Auvi-Q at PBM i in month t, and EPpi,t is the average net price
for EpiPen at PBM i in month t. Dj,t are time fixed-effect variables that equal 1 when
j = t and 0 otherwise. 𝜀𝜀𝑖𝑖,𝑡𝑡 are the residuals from the regression. The regression finds
the coefficients that minimize the weighted sum of residuals, that is, those that
minimize ∑ 𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑖𝑖,𝑡𝑡 𝜀𝜀𝑖𝑖,𝑡𝑡 2 . 𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝐷𝑖𝑖,𝑡𝑡 is the number of EAI doses sold to PBM i in
month t. The effect of this weighting is to give importance to each PBM-month
corresponding to the total number of doses sold in that PBM-month, rather than
equally weighting them, which would give unwarranted importance to less
economically significant PBMs. The coefficients βj on each of these time indicator
variables represent the predicted share that Auvi-Q would obtain each of the 34
months that Auvi-Q was on the market with equal net prices in the absence of
formulary coverage restrictions. γ represents the predicted share effect of the Auvi-
Q’s net price percentage premium relative to EpiPen (i.e. the ratio of Auvi-Q to
EpiPen net prices minus 1). I use this percentage price difference rather than dollar
price differences because it allows for better comparison of the difference in price
over time, since net prices were increasing over the time period analyzed.
Subtracting 1 from the ratio makes the contribution of this term in the regression
equal zero when net prices are the same for Auvi-Q and EpiPen. α represents the
predicted share effect of the coverage restrictions, controlling for prices, which are
captured by γ. So, if 50% of lives in a PBM-month faced coverage restrictions, that
would be predicted to reduce Auvi-Q share by 50%*α for that PBM-month
compared to a world where Auvi-Q faced no coverage restrictions and net prices
were the same.

       113. Using this regression, I estimate that α = - 0.0336083. With this value,
I can now estimate the total impact of the restrictive PBM formulary positions on
the quantity of pens Sanofi was able to sell each month that it was on the market. In
each month, the exclusionary contracts’ foreclosures impact on Auvi-q’s share is -
αrt. If we call Qt the total market quantity sold each month, then -αrtQt equals the
reduced Sanofi quantity sold each month as a result of PBM foreclosure, which I
will call ft. Thus, ft = -αrtQt. Table 1 below shows the percentage of total number
of doses, percentage of lives that were restricted, and total quantity impact of PBM
foreclosure for each month that Auvi-Q was on the market.




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I convert this to an equivalent     units per month per $ change in price. Mylan’s
firm specific market elasticity of demand, bM, is simply equal to this constant
multiplied by Mylan’s share of the market. Thus, bM =         ∗ 𝑠𝑠𝐸𝐸𝐸𝐸 .

       119. The table below illustrates Mylan’s total price elasticity, 𝑏𝑏 = 𝑏𝑏𝑋𝑋 + 𝑏𝑏𝑀𝑀 ,
over the course of time that Auvi-Q was on the market.




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       120. Now that I have estimated the quantity Mylan obtained from Sanofi due
to the exclusionary PBM formulary positions (Table 1), and Mylan’s price elasticity
(Table 2), I can use the formula calculated in paragraph 114 to calculate the price
change due to PBM foreclosure, ∆𝑝𝑝 = 𝑓𝑓/2𝑏𝑏. I show the results of this calculation
in Table 3 below. This price impact of PBM foreclosure can then be multiplied by
the quantity of Mylan’s actual sales each month to determine the total amount of
overcharge caused by PBM foreclosure, which is shown in Table 4 below. The total
overcharge caused by Mylan’s PBM foreclosure during the period of time that Auvi-
Q was on the market is $52,421,355. 108




       108
           This national overcharge amount can be allocated to states in proportion to their number
of pens sold for purposes of calculating damages under state antitrust and consumer protection
statutes. Appendix A details these calculations.
                                               60
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       122. Now that I have estimated the quantity Mylan obtained from Sanofi due
to the EpiPens4Schools program (Table 5), and Mylan’s price elasticity (Table 2), I
can use the formula calculated in paragraph 114 to calculate the price change due to
EpiPens4Schools foreclosure, ∆𝑝𝑝 = 𝑓𝑓/2𝑏𝑏. I show the results of this calculation in
Table 6 below. This price impact of EpiPens4Schools foreclosure can then be
multiplied by the quantity of Mylan’s actual sales each month to determine the
overcharge caused by EpiPens4Schools foreclosure, which is shown in Table 7
below. The total overcharge caused by the EpiPens4Schools program during the
period of time that Auvi-Q was on the market is $73,739,919. 112




       112
           This national overcharge amount can be allocated to states in proportion to their number
of pens sold for purposes of calculating damages under state antitrust and consumer protection
statutes. Appendix A details these calculations.
                                               65
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    APPENDIX A: STATE ANTITRUST AND CONSUMER PROTECTION DAMAGES
                     RESULTING FROM FORECLOSURE
I have been instructed by counsel that damages are available under state antitrust and
consumer protection statutes in the states listed in the tables below. The damages
are calculated by state for three sources; Foreclosure of Auvi-Q through PBM
contracts; foreclosure of Auvi-Q through the EpiPens4Schools program; and the
deterrence of Auvi-Q’s re-entry into the market. With the exception of certain state
statutes noted below that counsel has instructed me allow for separate or additional
statutory damages apart from overcharge damages, these figures represent the
national overcharge amounts noted for each source in my report multiplied by each
state’s percentage of total pens sold during the relevant time period (January 2013
through October 2015 for the foreclosure sources and September 2016 through June
2018 for the deterred re-entry).

Based on instruction from counsel,
  1. I calculate Alabama and Mississippi’s antitrust damages as their proportional
     share of overcharge damages plus $500 per Rx during the relevant time
     periods.
  2. I calculate New Hampshire’s antitrust damages as the greater of its
     proportional share of overcharge damages or $1000 per Rx during the relevant
     time period.
  3. I calculate Alaska’s consumer protection damages as the greater of 3x their
     proportional share of overcharge damages or $500 per Rx during the relevant
     time period.
  4. I calculate DC’s consumer protection damages as the greater of 3x their
     proportional share of overcharge damages or $1,500 per Rx during the
     relevant time period.
  5. I calculate Massachusetts’s consumer protection damages as the greater of
     their proportional share of overcharge damages or $25 per Rx during the
     relevant time period.
  6. I calculate Montana’s consumer protection damages as the greater of their
     proportional share of overcharge damages or $500 per Rx during the relevant
     time period.
  7. I calculate New Hampshire’s consumer protection damages as the greater of
     their proportional share of overcharge damages or $1,000 per Rx during the
     relevant time period.
  8. I calculate New Mexico’s consumer protection damages as the greater of their
     proportional share of overcharge damages or $100 per Rx during the relevant
     time period.

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   9. I calculate Rhode Island’s consumer protection damages as the greater of their
      proportional share of overcharge damages or $200 per Rx during the relevant
      time period.
   10.I calculate West Virginia’s consumer protection damages as their proportional
      share of overcharge damages plus $1,000 per Rx during the relevant time
      period.




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                                      Harvard Committees

Chair, Harvard Law School Lateral Appointments Committee (1998-99), Member (2003-05,

       2011-2014).

Member, Harvard Law School Entry Level Appointments Committee (2009-2011).

Member, Harvard University Standing Committee on the Degree of Doctor of Philosophy in

       Health Policy (1996-99, 2006-07).

Member, Harvard University Internal Advisory Board for the Interfaculty Initiative in Health

       Policy (1996-99).

Member, Harvard Law School Lecturers and Visitors Committee (1996-98).



Past Academic Positions

       1988-95        Professor of Law, Boalt Hall, University of California at Berkeley

       1995           Visiting Professor of Law, Univ. of Chicago Law School

       1994           Visiting Professor of Law, Harvard Law School

       1993           Visiting Olin Faculty Fellow, Yale Law School

       1991-92        Visiting Scholar in Europe at the Karolinska Institute, the Centre for Health

                      Economics, the Rockefeller Foundation Study Center, Cambridge

                      University, the European University Institute and the University of Florence

Clerkships

       1987-88        Clerk for Justice William J. Brennan, Jr., United States Supreme Court

       1986-87        Clerk for Judge William A. Norris, U.S. Court of Appeals for the Ninth

                      Circuit

       1986           Clerk for U.S. Solicitor General's Office, Washington, D.C.



Bar Admissions: Massachusetts (2000); Pennsylvania (1986); United States Courts of Appeals

for the Fourth (1997), Sixth (2008), and Ninth Circuits (1987); Supreme Court of the United States

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                                  ECONOMICS EXPERT WORK

President, Legal Economics LLC, 2007 to present.

Senior Expert at Criterion Economics LLC, 2004-2007

Recipient, 2016 AAI award for Outstanding Antitrust Litigation Achievement in Economics.

Named One of World's Leading Competition Economists in the International Who's Who of

          Competition Lawyers and Economists.

Testifying Expert in Roxul USA Inc. v. Armstrong World Industries, Inc.¸ a case alleging

          exclusionary conduct involving ceiling tiles.

Testifying Expert in Sitts v. Dairy Farmers of America, Inc.¸ a case alleging a conspiracy to

          suppress raw milk prices.

Testifying Expert in In Re Qualcomm Antitrust Litigation, a case alleging tying and exclusive

          dealing involving modem chipsets and cellular standard essential patents.

Testifying Expert in In Re Niaspan Antitrust Litigation, a case alleging a reverse payment patent

          settlement.

Testifying Expert in In Re Lamictal Direct Purchaser Antitrust Litigation, a case alleging a reverse

          payment patent settlement.

Testifying Expert in In re Namenda Antitrust Litigation, a case alleging a reverse payment patent

          settlement and product hop.

Testifying Expert in In re Lidoderm Antitrust Litigation, a case alleging a reverse payment patent

          settlement.

Testifying Expert in Valassis Communications v. News Corp, a case alleging anticompetitive

          bundling and other exclusionary conduct.

Testifying Expert in GN Netcom v. Plantronics, a case alleging exclusive dealing in the distribution

          of contact center and office headsets.

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Testifying Expert in Louisiana Wholesale Drug v. Unimed Pharmaceuticals (Androgel case), a

       case alleging a reverse payment patent settlement.

Testifying Expert in Garber v. Office of the Commissioner of Baseball, a case alleging horizontal

       territorial restraints on broadcasting baseball games.

Testifying Expert in Suture Express v. Cardinal Health, a case alleging tying and bundled loyalty

       contracts in medical distribution.

Testifying Expert in Savant v. Crestron, a case alleging exclusive dealing in the high-end home

       control system market

Testifying Expert in Castro et. al. vs Sanofi Pasteur, a case alleging anticompetitive bundled

       loyalty contracts in the vaccines industry.

Testifying Expert in In re Mushroom Direct Purchaser Antitrust Litigation, a case alleging price-

       fixing in the fresh mushroom market.

Testifying Expert in It’s My Party, Inc. v. Live Nation, Inc., a case alleging anticompetitive conduct

       in markets for promotion and amphitheaters.

Testifying Expert in Retractable Technologies v. Becton Dickinson, a case alleging exclusionary

       contracts in syringe and IV catheter markets.

Testifying Expert in Caldon v. Westinghouse Electric, a case alleging attempted monopolization.

Testifying Expert in King Drug v. Cephalon, a case alleging that a reverse payment settlement of

       a patent dispute delayed entry and restrained competition in a pharmaceutical market.

Testifying Expert for the United States in United States v. Wyeth, a case involving claims of

       bundled sales and bundled discounts in a pharmaceutical market, which resulted in a $784

       million settlement for the United States.

Testifying Expert in BAE Holdings AH v. ArmorWorks Enterprises, a case alleging price

       discrimination by a ceramic tile manufacturer resulting in harm to downstream

       competition.



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    Testifying Expert in In re Marsh & Mclennan Companies, Inc. Securities Litigation, a case

           alleging securities violations from failure to disclose bid steering.

    Testifying Expert in Tessera Technologies v. Hynix Semiconductor, a case alleging conspiracy to

           exclude outside technologies from semiconductor markets.

    Testifying Expert in American Steel Erectors v. Local Union No. 7, a case alleging boycott claims

           related to steel erection and labor markets.

    Testifying Expert in BP America v. Repsol, an arbitration.

.   Testifying Expert in Food Lion v. Dean Foods Company, a class action alleging conspiracies to

           restrict and foreclose competition in milk markets.

    Testifying Expert in Eisai Inc. v. Sanofi-Aventis U.S. LLC, a case by a rival alleging foreclosure in

           anticoagulant pharmaceutical markets.

    Testifying Expert in Daniels v. Tyco, a case by a rival alleging foreclosure from sharps containers

           and GPO markets.

    Testifying Expert in Natchitoches Parish Hospital v. Tyco, a class action concerning medical

           sharps containers and GPO markets.

    Testifying Expert in Amgen v. F. Hoffman La Roche, concerning erythropoietin-simulating agents

           (ESAs) and white blood cell simulators (WBCs) pharmaceutical markets.

    Testifying Expert in White v. NCAA, concerning markets for athletic and educational services.

    Testifying Expert in Applied Medical Resources v. Ethicon, Inc, concerning sutures, trocars, and

           GPO markets.

    Testifying Expert in Masimo Corp. v. Tyco Health Care Group, concerning oximetry products and

           GPO markets.

    Testifying Expert in Rochester Medical v. Bard, concerning catheter and GPO markets.

    Testifying Expert in Retractable Technologies, Inc. v. Becton Dickinson, concerning syringes and

           GPO markets.



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Testifying Expert in Spartanburg v. Hill-Rom, a class action concerning hospital beds and GPO

       markets.

Testifying Expert in Mountain Area Realty v. Wintergreen Partners, concerning conduct in the

       real estate brokerage services market.

Testifying Expert in Louisiana Municipal Police Employees' Retirement System v. Crawford,

       concerning merger in the pharmacy benefit manager market.

Testifying Expert in Capital Credit Alliance v. National Automated Clearing House Association,

       concerning electronic checks market.

Testifying Expert for Intel before EC and Korean antitrust authorities on microprocessor markets.

Testifying Expert for AmBev before the EC and Brazilian antitrust authorities on beer market.

Testifying Expert for 1-800-Contacts before the FTC on OSI-CooperVision merger and

       agreements restraining distribution by nonprescribing retailers.

Testifying Expert in In Re Cardizem CD Antitrust Litigation, concerning patents and

       pharmaceuticals.

Testifying Expert regarding the B.F. Goodrich-Coltec Merger, concerning the aerospace industry.

Testifying Expert regarding the Alcoa-Reynolds Merger, concerning the aluminum industry

Expert Consultant to National Cable Television Association on Internet Access Bills before

       Congress and Interactive Television Inquiry before FCC.

Expert for Royal Caribbean for proposed mergers of Princess with Royal Caribbean and Carnival,

       concerning the cruise industry.

Expert for the Medical Device Manufacturers Association, producing Report to U.S. Senate and

       Statement to FTC/DOJ regarding exclusionary agreements between medical device

       suppliers and Group Purchasing Organizations and their hospitals.




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                                          EDUCATION

Harvard Law School                    J.D., June 1986

                                              Awards

       Fay Diploma -- for graduating first in class

       Sears Prize -- Second Year -- to top two students in class

       Sears Prize -- First Year -- to top two students in class

                                                  Activities

       Harvard Law Review, Articles Office Co-Chair

       Class Marshal

       Author: Modes of Analysis: The Theories and Justifications of Privileged Communications,

              98 HARV. L. REV. 1471-1500 (1985).



Harvard College                B.A., June 1982

       Graduated in three years, majoring in Biochemical Sciences. GPA 3.9



                                           PERSONAL

Born of Argentinian immigrants in New York City. First language was Spanish. Live with wife

and 3 children in Newton, Massachusetts.




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   EXHIBIT B: STATEMENT OF PUBLICATIONS, PRIOR TRIAL AND DEPOSITION
                     TESTIMONY, & COMPENSATION


                                 I. Publications

      My publications from the last 10 years are listed on my CV, which is attached
as Exhibit A.

                       II. Trial and Deposition Testimony

       Within the past four years, I have provided deposition testimony in Suture
Express v. Cardinal Health on May 5, 2015; Castro v. Sanofi on July 13, 2016;
Louisiana Wholesale Drug v. Unimed Pharmaceuticals (Androgel case) on October
14, 2016 and August 10, 2017; GN Netcom v. Plantronics on December 1-2, 2016;
In re Lidoderm Antitrust Litigation on June 6, 2017; In re Namenda Antitrust
Litigation on September 29, 2017 and November 10, 2017; and In re Lamictal Direct
Purchaser Antitrust Litigation on June 7, 2018; In Re Qualcomm Antitrust Litigation
on August 1, 2018; and Sitts v. Dairy Farmers of America, Inc. on November 6,
2018.

      Within the past four years, I have also testified at trial in GN Netcom v.
Plantronics on October 13 and 17, 2017. Other cases in which I have filed expert
reports in the last four years are listed in my CV, which is attached as Exhibit A.

                               III. Compensation

      I am being compensated at a rate of $   per hour for my work on this case,
and my consulting firm, Legal Economics LLC, is being compensated $          per
hour for the work of my staff on this report.




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                      EXHIBIT C: MATERIALS CONSIDERED

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Assessment of the PTO’s Granting Patterns, 66 VAND. L. REV. 67 (2013)

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Expert Reports:

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Torrance Report

Bates Numbered Documents:

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https://www.forbes.com/sites/bmoharrisbank/2013/01/28/why-companies-are-
opting-for-captive-insurance-arrangements/#1f55b5c1787d.

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Teva”,      PR     Newswire,      April      26,     2012,     available    at
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Health           and         Human           Services,   available       at
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(Lidoderm), 296 F. Supp. 3d 1142, 1162-64, 1186-88 (N.D. Cal. Nov. 3, 2017)




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